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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


LA UNIÓN DEL PUEBLO ENTERO,
et al.,                                        *

        Plaintiffs,                            *

   v.                                          *   Civil No. 8:19-cv-02710-PX-PAH-ELH

DONALD J. TRUMP, sued in                       *
his official capacity as President
of the United States, et al.,                  *

        Defendants.                         *
                                           ***
                                     SCHEDULING ORDER

        Plaintiffs’ motion for leave to file excess pages (ECF No. 114) and motion for expedited
briefing schedule and hearing (ECF No. 113) are granted. The Court issues the following deadlines:

September 11, 2020                          Defendants’ Response in Opposition to Plaintiffs’
                                            Motion for a Temporary Restraining Order, and/or in
                                            the Alternative, Preliminary Injunction (not to exceed
                                            forty pages exclusive of affidavits and exhibits, table
                                            of contents and citations, and addenda containing
                                            statutes, rules, or regulations)

September 16, 2020                          Plaintiffs’ Reply in Support of their Motion for a
                                            Temporary Restraining Order, and/or in the
                                            Alternative, Preliminary Injunction (not to exceed
                                            twenty-five pages exclusive of affidavits and exhibits,
                                            table of contents and citations, and addenda containing
                                            statutes, rules, or regulations)

The Plaintiffs shall immediately deliver a courtesy copy of the opening motion and memorandum to
the chambers of each Judge. The parties shall deliver one courtesy copy of all subsequent pleadings
within three days after filing on ECF.

September 21, 2020 at 2:00 p.m.             Hearing before three-Judge panel to take place
                                            virtually by Zoom (2 hours)


It is so ORDERED.

 9/3/2020                                                    /S/
Date                                               Paula Xinis
                                                   United States District Judge
